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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 IN RE: Bair Hugger Forced Air Warming              MDL No. 15-2666 (JNE/DTS)
 Products Liability Litigation


 This Document Relates to:                          SHORT FORM COMPLAINT AND
                                                    JURY TRIAL DEMAND
 PLAINTIFF(S)

Douglas MacDonald and Penny MacDonald
 VS.

 3M COMPANY AND ARIZANT
 HEALTHCARE, INC.

        1.     Plaintiffs Douglas MacDonald and Penny MacDonald, state and brings this

civil action in MDL No. 15-2666, entitled In Re: Bair Hugger Forced Air Warming Products

Liability Litigation. Plaintiff is filing this Short Form Complaint as permitted by Pretrial Order

#8 of this Court.

                         PARTIES, JURISDICTION AND VENUE

        2.     Plaintiff, Douglas MacDonald, is a resident and citizen of the State of

 Missouri and claims damages as set forth below.

        3.     Plaintiff’s Spouse, Penny MacDonald, is a resident and citizen of the State of

 Missouri, and claims damages as set forth below.

        4.     Jurisdiction is proper based upon diversity of Citizenship.

        5.     Proper Venue: The District Court in which remand trial is proper and where




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this Complaint would have been filed absent the direct filing order by this Court
is

Greene County Judicial Courts Facility, 31st Judicial Circuit, 1010 North Boonville,
Springfield, MO, 65802.

       6.     Plaintiff brings this action [check the applicable designation]:

       X             On behalf of [himself/herself];

                     In a representative capacity as the ________ of the

                                               having been duly appointed as the

                                           by the                  Court               of

                                       .

                     A copy of the Letters of Administration for a wrongful death claim

                     is annexed hereto if such letters are required for the commencement

                     of such a claim by the Probate, Surrogate or other appropriate court

                     of the jurisdiction of the decedent.

                     [Cross out if not applicable.]

                                     FACTUAL
                                   ALLEGATIONS

       7.     On or about May 13, 2014, Plaintiff underwent a left total knee

replacement surgery during which the Bair Hugger Forced Air Warming system

(hereinafter “Bair Hugger”) was used during the course and scope of [his/her] surgery

at Mercy Hospital Springfield in Springfield, Missouri,by Dr. Richard Seagrave, MD.

       8.     Contaminants introduced into Plaintiff’s open surgical wound as a



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direct and proximate result of use of the Bair Hugger during the subject surgery

resulted in Plaintiff developing a periprosthetic joint infection (“PJI”), also known as

a deep joint infection (“DJI”).

       9.     As a result of Plaintiff’s infection caused by the Bair Hugger during

the subject surgery on May 13, 2014, Plaintiff underwent explantation of the left

knee arthroplasty, debridement and stage one antibiotic spacer insertion on July 10,

2015. The surgeon noted in the record that there was fluid in the joint during the

July 10, 2015, revision and debridement surgery. The final culture results came

back positive from gram positive cocci (coagulase negative staph species). He was

placed on a six-week regimen of antibiotics. Dr. Seagrave took the patient back to

the operating room on October 20, 2015, for a left total knee arthroplasty revision

and discharged on October 22, 2015. Bair Hugger warming device #3546 was

utilized during the subject total left knee arthroplasty surgery on May 13, 2014.

                           ALLEGATIONS AS TO INJURIES

       10.    (a) Plaintiff claims damages as a result of (check all that are applicable):

       x                    INJURY TO HERSELF/HIMSELF

                            INJURY TO THE PERSON REPRESENTED

                            WRONGFUL DEATH

                            SURVIVORSHIP ACTION

       x                    ECONOMIC LOSS

               (b) Plaintiff’s spouse claims damages as a result of (check all that are

       applicable): [Cross out if not applicable.]


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       x                     LOSS OF SERVICES

        x                    LOSS OF CONSORTIUM

       11.     Defendants, by their actions or inactions, proximately caused the injuries

to Plaintiff(s).

   DEFENDANT-SPECIFIC ALLEGATIONS AND THEORIES OF
   RECOVERY

       12.     The following claims and allegations are asserted by Plaintiff(s) and are

herein adopted by reference (check all that are applicable):

        x                    FIRST CAUSE OF ACTION - NEGLIGENCE;

        x                    SECOND CAUSE OF ACTION - STRICT LIABILITY;

                             x             FAILURE TO WARN

                             x       DEFECTIVE DESIGN AND
                             MANUFACTURE

        x                  FOURTH CAUSE OF ACTION- BREACH OF IMPLIED
                           WARRANTY OF MERCHANTABILITY LAW OF THE
                           STATE OF MISSOURI, R.S. Mo.§§400.2-314(2017) et. seq.;

        x                    FIFTH CAUSE OF ACTION- VIOLATION OF THE
                             MINNESOTA PREVENTION OF CONSUMER FRAUD
                             ACT;

        x                    SIXTH CAUSE OF ACTION – VIOLATION OF
                             THE MINNESOTA DECEPTIVE TRADE
                             PRACTICES ACT;

        x                    SEVENTH CAUSE OF ACTION- VIOLATION OF
                             THE MINNESOTA UNLAWFUL TRADE PRACTICES
                             ACT;

        x                    EIGHTH CAUSE OF ACTION- VIOLATION OF



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                            THE MINNESOTA FALSE ADVERTISING ACT;

       x                    NINTH CAUSE OF ACTION- CONSUMER FRAUD
                            AND/OR UNFAIR AND DECEPTIVE TRADE
                            PRACTICES UNDER LAW OF THE STATE OF
                            MISSOURI,
                            R.S. Mo. §§407.020, et. seq.;

       x                    TENTH CAUSE OF ACTION –
                            NEGLIGENT MISREPRESENTATION;

       x                    ELEVENTH CAUSE OF ACTION- FRAUDULENT
                            MISREPRESENTATION;

       x                    TWELFTH CAUSE OF ACTION – FRAUDULENT
                            CONCEALMENT;

       x                    THIRTEENTH CAUSE OF ACTION –
                            LOSS OF CONSORTIUM; and

       x                    FOURTEENTH CAUSE OF ACTION –
                            UNJUST ENRICHMENT.


       In addition to the above, Plaintiff(s) assert the following additional causes of

action under applicable state law:

       Plaintiff reserves the right to amend his Complaint to include additional causes

of action under applicable state law.




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                                     PRAYER FOR
                                       RELIEF

WHEREFORE, Plaintiff(s) pray for judgment against Defendants as follows:

       1. For compensatory damages;

       2. Pre-judgment and post-judgment interest;

       3. Statutory damages and relief of the state whose laws will govern this action;

       4. Costs and expenses of this litigation;

       5. Reasonable attorneys’ fees and costs as provided by law;

       6. Equitable relief in the nature of disgorgement;

       7. Restitution of remedy Defendants’ unjust enrichment; and

       8. All other relief as the Court deems necessary, just and proper.

                                    JURY DEMAND

Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff(s) hereby demand(s) a trial

by jury as to all claims in Complaint so triable.


Dated: August 25, 2022                              Respectfully submitted,


                                                    _____________________
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